USCA4 Appeal: 18-2507      Doc: 32        Filed: 07/22/2019     Pg: 1 of 7




                                            UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                              No. 18-2507


        TEOFILO C. MATIAS,

                            Plaintiff - Appellant,

                     v.

        ELON UNIVERSITY,

                            Defendant - Appellee.


        Appeal from the United States District Court for the Middle District of North Carolina, at
        Greensboro. Loretta C. Biggs, District Judge. (1:17-cv-00398-LCB-LPA)


        Submitted: June 28, 2019                                          Decided: July 22, 2019


        Before MOTZ and QUATTLEBAUM, Circuit Judges, and HAMILTON, Senior Circuit
        Judge.


        Affirmed by unpublished per curiam opinion.


        Geraldine Sumter, FERGUSON, CHAMBERS & SUMTER, P.A., Charlotte, North
        Carolina, for Appellant. Beth Tyner Jones, Rebecca C. Fleishman, Raleigh, North
        Carolina, Richard L. Rainey, WOMBLE BOND DICKINSON (US) LLP, Charlotte,
        North Carolina, for Appellee.


        Unpublished opinions are not binding precedent in this circuit.




              Case 1:19-cv-00477-CCE-LPA Document 21 Filed 07/22/19 Page 1 of 7
USCA4 Appeal: 18-2507         Doc: 32          Filed: 07/22/2019      Pg: 2 of 7




        PER CURIAM:

               Teofilo C. Matias appeals the district court’s order granting summary judgment on

        his employment discrimination complaint against Elon University (“Elon”), which

        employed him from 1999 to 2016. Matias alleged that, because of his Mexican heritage,

        Elon overlooked him for a promotion, in violation of 42 U.S.C. § 1981 (2012), and later

        terminated his employment, in violation of § 1981 and Title VII of the Civil Rights Act

        of 1964, as amended (“Title VII”), 42 U.S.C.A. §§ 2000e to 2000e-17 (West 2012 &

        Supp. 2018). Because we discern no evidence of pretextual motive for the contested

        employment actions, we affirm.

               “We review de novo a district court’s grant or denial of a motion for summary

        judgment, construing all facts and reasonable inferences therefrom in favor of the

        nonmoving party.” Gen. Ins. Co. of Am. v. U.S. Fire Ins. Co., 886 F.3d 346, 353 (4th Cir.

        2018). Summary judgment is appropriate “if the movant shows that there is no genuine

        dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

        Fed. R. Civ. P. 56(a).

               Matias’ allegations of prejudicial treatment largely focus on David Worden, a

        supervisor whose statements and actions underlie both discrimination claims. In 2005,

        when Matias asked whether his recent promotion to utility distribution serviceman came

        with a raise, Worden allegedly responded: “You don’t know how to do the job. How can

        I give you a raise? The only thing you know how to do is make tacos.” (J.A. 23-24). 1 In


               1
                   Citations to “J.A.” refer to the joint appendix filed by the parties in this appeal.


                                                         2



              Case 1:19-cv-00477-CCE-LPA Document 21 Filed 07/22/19 Page 2 of 7
USCA4 Appeal: 18-2507      Doc: 32         Filed: 07/22/2019      Pg: 3 of 7




        2014, after Matias’ immediate supervisor announced his retirement, Worden advertised

        the opening by word-of-mouth but did not inform Matias of the position.             Worden

        eventually selected Mark Poole in August 2014, though Poole did not assume his new

        role until January 2015. Meanwhile, Matias learned of his supervisor’s retirement and, in

        November 2014, expressed his interest in the position to Worden, who responded: “You

        guys, Mexicans, you want everything. You just want money.” (J.A. 386). Finally, in

        February 2016, Worden heard from another Elon employee, Donnell Jeffries, that Matias

        had tried to kiss a coworker at work. Worden and Jeffries reported the incident to Elon’s

        human resources department (“HR”). HR, in turn, confirmed the allegation, leading to

        Matias’ termination for creating a hostile work environment.

               To prevail on an employment discrimination claim, a plaintiff may either produce

        direct evidence of discrimination or proceed under the burden-shifting framework

        established in McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973). Strothers v.

        City of Laurel, 895 F.3d 317, 327 (4th Cir. 2018). “Direct evidence must be evidence of

        conduct or statements that both reflect directly the alleged discriminatory attitude and that

        bear directly on the contested employment decision.” Warch v. Ohio Cas. Ins. Co., 435

        F.3d 510, 520 (4th Cir. 2006) (internal quotation marks omitted).

               With respect to his failure to promote claim, Matias contends that Worden’s

        remarks in 2005 and 2014 constitute direct evidence of discrimination. However, the

        taco comment, made roughly nine years before Poole’s promotion, was far too remote to

        constitute such evidence. See Birkbeck v. Marvel Lighting Corp., 30 F.3d 507, 512 (4th

        Cir. 1994) (finding two-year gap too remote).       Even when considered in conjunction

                                                     3



              Case 1:19-cv-00477-CCE-LPA Document 21 Filed 07/22/19 Page 3 of 7
USCA4 Appeal: 18-2507      Doc: 32         Filed: 07/22/2019     Pg: 4 of 7




        with the taco comment, we conclude that the money comment, though objectionable, was

        the type of isolated statement that does not amount to direct evidence of discrimination.

        See Brinkley v. Harbour Recreation Club, 180 F.3d 598, 608 (4th Cir. 1999) (“[T]o prove

        discriminatory animus, the derogatory remark cannot be stray or isolated.”), abrogated on

        other grounds by Desert Palace, Inc. v. Costa, 539 U.S. 90, 101-02 (2003). Thus, we

        reject Matias’ attempt to prove his claim with direct evidence.

               Turning to the McDonnell Douglas framework, a plaintiff alleging discrimination

        bears “the initial burden of proving his . . . prima facie case by a preponderance of the

        evidence.” Abilt v. Cent. Intelligence Agency, 848 F.3d 305, 315 (4th Cir. 2017). If the

        plaintiff makes this showing, “[t]he burden of production then shifts to the employer to

        . . . provide some legitimate, nondiscriminatory reason for the adverse employment

        action.” Sharif v. United Airlines, Inc., 841 F.3d 199, 203 (4th Cir. 2016) (internal

        quotation marks omitted).     If the employer satisfies this requirement, “the plaintiff

        resumes the burden of persuading the factfinder that the employer’s proffered explanation

        is merely a pretext for discrimination.” Id.

               Even assuming, as the district court found, that Matias satisfied his prima facie

        burden, 2 we conclude that Matias failed to establish pretext. In moving for summary


               2
                 To establish a prima facie case of discriminatory failure to promote, a plaintiff
        must demonstrate “that (1) [he] is a member of a protected group, (2) [he] applied for the
        position in question, (3) [he] was qualified for that position, and (4) the defendant[]
        rejected [his] application under circumstances that give rise to an inference of unlawful
        discrimination.” Anderson v. Westinghouse Savannah River Co., 406 F.3d 248, 268 (4th
        Cir. 2005); see Williams v. Giant Food Inc., 370 F.3d 423, 430 & n.5 (4th Cir. 2004)
        (applying same test to claims under § 1981 and Title VII). Although Matias did not
        (Continued)
                                                       4



              Case 1:19-cv-00477-CCE-LPA Document 21 Filed 07/22/19 Page 4 of 7
USCA4 Appeal: 18-2507      Doc: 32        Filed: 07/22/2019     Pg: 5 of 7




        judgment, Elon claimed that it selected Poole based on his experience maintaining

        custodial equipment and supervising others. On appeal, Matias contends that, because he

        had more experience in these two areas, a reasonable factfinder could infer that racial

        animus motivated Elon’s decision to pick a less-qualified applicant. But to demonstrate

        pretext, Matias must “show[] that his qualifications [were] demonstrably superior” to

        Poole’s, not that they were just “similar or only slightly superior.” Heiko v. Colombo

        Sav. Bank, F.S.B., 434 F.3d 249, 261-62 (4th Cir. 2006). Otherwise, the decision to

        promote Poole over Matias “remains vested in [Elon’s] sound business judgment.” Id. at

        261.

               Based on our review of their respective qualifications, we cannot agree that Matias

        was clearly better-suited than Poole for the supervisory position. And although Matias

        worked at Elon longer than Poole did, “[y]ears of experience . . . are not necessarily

        determinative of qualifications for a promotion.” Hall v. Forest River, Inc., 536 F.3d

        615, 620 (7th Cir. 2008). Accordingly, we conclude that the district court properly

        awarded summary judgment to Elon on Matias’ failure to promote claim.

               We now turn to Matias’ discriminatory discharge claim. “To establish a prima

        facie case of race discrimination under McDonnell Douglas, a plaintiff must demonstrate

        (1) membership in a protected class; (2) satisfactory job performance; (3) adverse




        apply for the supervisor position, the district court correctly determined that such
        shortcoming was not fatal to Matias’ claim. Williams, 370 F.3d at 431-32 (holding that
        employee satisfies second element by showing he would have applied for open position
        but for employer’s failure to adequately announce job vacancy).

                                                    5



               Case 1:19-cv-00477-CCE-LPA Document 21 Filed 07/22/19 Page 5 of 7
USCA4 Appeal: 18-2507      Doc: 32         Filed: 07/22/2019    Pg: 6 of 7




        employment action; and (4) different treatment from similarly situated employees outside

        the protected class.” Goode v. Cent. Va. Legal Aid Soc’y, Inc., 807 F.3d 619, 626 (4th

        Cir. 2015) (internal quotation marks omitted). Here, we agree with the district court’s

        determination that Matias failed to satisfy the fourth prong because his proffered

        comparator—a coworker who successfully weathered multiple investigations into

        workplace sexual misconduct—was not similarly situated. Specifically, not only was HR

        unable to confirm the complaints lodged against the comparator, but also the comparator,

        unlike Matias, was never accused of forcing himself on a coworker. See Haynes v. Waste

        Connections, Inc., 922 F.3d 219, 223-24 (4th Cir. 2019) (“[T]o establish a valid

        comparator, the plaintiff must produce evidence that the plaintiff and comparator . . .

        engaged in the same conduct without such differentiating or mitigating circumstances

        that would distinguish their conduct or the employer’s treatment of them for it.” (internal

        quotation marks omitted)).

               Moreover, even if Matias could overcome this initial hurdle, his claim would fail

        because he has not established that the reason for his termination was merely pretext for

        discrimination.   On this point, Matias argues that Worden’s referral of the kissing

        complaint to HR tainted the ensuing investigation, thus undermining the conclusion that

        Matias created a hostile work environment. But unlike Staub v. Proctor Hospital, 562

        U.S. 411 (2011), on which Matias heavily relies, here, there is no evidence suggesting

        that Worden manufactured the kissing incident, relayed the complaint out of racial

        animus, or otherwise influenced HR’s investigation.



                                                    6



              Case 1:19-cv-00477-CCE-LPA Document 21 Filed 07/22/19 Page 6 of 7
USCA4 Appeal: 18-2507      Doc: 32        Filed: 07/22/2019     Pg: 7 of 7




              Accordingly, we affirm the judgment of the district court. We dispense with oral

        argument because the facts and legal contentions are adequately presented in the

        materials before this court and argument would not aid the decisional process.

                                                                                     AFFIRMED




                                                    7



              Case 1:19-cv-00477-CCE-LPA Document 21 Filed 07/22/19 Page 7 of 7
